   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 1 of 20




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

DEBORAH D. PETERSON,
Personal Representative
of the Estate o f .
James C. Knipple (Deceased), et a1

                    Plaintiffs

     v.                                      Civil Action# 1:01CV02094(RCL)

THE ISLAMIC REPUBLIC OF IRAN, et al.

                          Defendants


                      REPORT OF SPECIAL MASTER
                   PURSUANT TO ORDER OF REFERENCE
                      CONCERNING COUNTS D - DIV


      In accordance with the Order of Reference entered pursuant to the

provisions of Federal Rule 53, the Special Master has received evidence with

regard to all issues of compensatory damages fiom witnesses as set forth below.

This is an action for emotional and physical damage resulting fkom an act of state

sponsored terrorism on the part of the Defendants and their agents occurring on

and prior to the 23rd day of October 1983 at the Beirut, Lebanon United States

Marine Barracks.

      The following findings of fact are based upon the sworn testimony and

documents entered into evidence in accordance with the Federal Rules of

Evidence and have been established by clear and convincing documentary

evidence and testimony.
    Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 2 of 20




  1. F r d Comes Jr. was born March 10, 1961 in the United States of America

and has been at all times throughout his life a citizen of the United States of

America.

  2. On October 23 1983, Frank Comes Jr. was a member of the United States

Marines having enlisted on February 11, 1981 and was stationed in Beirut,

Lebanon.

  3. On October 23 1983, the Marine Barracks building housing the Decedent's

Marine Battalion in Beirut was attacked by a suicide bomber who was driving a

truck which penetrated to the center of the building where the truck, which was

carrying a large quantity of explosives, detonated, collapsing the building resulting

in the deaths of 241 American personnel.

  4. As a result of the explosion, Frank Comes Jr., suffered severe injuries which

have consequently affected his emotional well being to this day.

  5. The following testimony clearly establishes that the victim and his family

have never recovered from the effects of the Marine Barracks Bombing on

October 23, 1983. The emotional trauma they sustained is permanent and

significant.



Frank Comes Jr.

       Frank Comes testified on his own behalf about the psychological damage

he sustained in Beirut, Lebanon on October 23, 1983 and the lasting effects these

injuries have had on him and on his family.
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 3 of 20




       Frank Comes grew up in Bayonne, New Jersey. He has a sister and four

brothers. Frank was the oldest of his siblings. They were a tight knit family.

They regularly took family trips together. Frank was a B student who enjoyed

basketball and swimming. Frank left high school in his senior year and finished

in a night program. He worked for his uncle's carnival business starting around

age 16. His brothers also worked there.

       Frank's dad and uncle had been in the Marines and he had always wanted

to be a Marine. He considered them the best of the five branches. His dad was for

it, but his mother needed to be convinced. Frank enlisted for three years. He did

not plan to make a career of it and intended to be a police officer when he left the

Marine Corps.

       Frank went to Parris Island for basic training. Frank was in good shape

when he entered the Marine Corps. Boot camp was tough, psychologically and

physically. Frank felt like he had changed when he graduated from boot camp.

Frank was sent to Camp Pendleton for advanced infantry training. Frank's first

assignment was guarding nuclear weapons. He was transferred to Camp LeJeune

and went to the Mediterranean fkom there. When the civil war erupted in

Lebanon, Frank's unit was sent to the airport in Beirut in May of 1983.

       Frank wrote to his parents while he was abroad. When Frank was sent to

Beirut, he and the other Marines were told simply that they were on a

peacekeeping mission.

       Frank and the other Marines dug bunkers into the ground. They did this at
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 4 of 20




the airport and at the university. Frank went on patrols regularly. The Marines

were shelled, sniped at and even taunted. They got into firefights with locals

occasionally. Some Marines were killed and wounded by the sniper fire. When

they weren't on patrol, the Marines spent their time underground in bunkers. They

slept with their gear and their helmets on. The conditions in the bunkers were

terrible. At one point, Frank and the other Marines were being bombarded

constantly with RPG's. The projectiles were landing all around him and Frank

thought there was no way he would ever leave Beirut alive. Another time, at the

university, rounds were fired through the glass and the Marines around Frank were

wounded by the flying glass.

       On the morning of October 23, 1983, Frank was asleep when the other

Marines started waking up. As Frank woke up, Marines were yelling that the BLT

(Battalion Landing Team) Building had been bombed. Frank thought he was

having a nightmare for a minute. People were in shock and couldn't believe what

was happening. Frank describes the situation as chaotic.

       The Marines began to organize rescue efforts. The Lebanese people and

the Red Cross were helping the wounded. There were screams kom the wounded.

There were body parts scattered around the rubble. The rescuers were taking

sniper fire kom the surrounding hills. Frank and the other Marines who were

supposed to be guarding the rescue process still had to follow their Rules of

Engagement, which included not returning fire until they had permission. The

Marines were on high alert after the bombing. They stayed in Beirut for about
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 5 of 20




three weeks after the bombing, retrieving the dead and sorting through the rubble.
      Frank's company commander had been in the building at the time of the

bombing, along with other men from his unit. They were all killed. In Frank's

short time at Camp LeJeune, he had made fiends with several of the Marines who

died in the bombing.

      For the first week after the bombing, Frank could not contact his family.

They thought he had died. They held prayer vigils. Frank finally got to the phone

after about a week and told his family he was alive. Three weeks after the

bombing, Frank and the other Marines were put on ships and shipped to North

Carolina. When they arrived, a general shook each one of their hands. There was

a parade for them and they were welcomed back as heroes. Frank didn't consider

himself a hero. He thought they had lost.

      Frank was proud to be a Marine and he felt the government had failed him

and the other Marines in Beirut. Frank was discharged fiom the Marine Corps in

1984. He was a toll collector for a while and had other odd jobs. He eventually

went to work for the railroad. Frank had lost interest in becoming a police officer.

       Frank is bitter about his experience in Beirut. He believes the officers high

up in the chain of command have shrugged off their responsibility for not properly

protecting the Marines or for anticipating the attack. Frank thought he could bury

his feelings about the attack In the mid - 1990's, he started having nightmares

and flashbacks and thinking about the bombing more and more. He thought it

must be normal and didn't seek help. He became withdrawn He cared less and
       Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 6 of 20




!+SS   xwkther he lived or died. One dav. when he couldn't take it anvmore. he went

to the V.A. hospital. He was too embarrassed to tell his em~loversabout his

~roblems.

         A ~svchiatristat the V.A. gave him medication. The doctor told him about

a program for combat veterans with PTSD (Post Traumatic Stress Disorder).

Frank showed si.gns of improvement after that promam. which was an in-patient.

45-day program at the V.A. The V.A. has determined that Frank is 50% disabled

with PTSD. Frank is on medications for anxiety and depression. He doesn't think

he could function normally without the medications. Frank still sees his

psychologist regularly.

         Frank got out of treatment in early September of 200 1. When the

September 11" attacks happened, Frank became more depressed. He purposely

avoids watching TV programs about terrorist attacks because they depress him.

Frank doesn't like crowds and has trouble being around people and interacting

with them for long periods of time.

         Frank's psychological disorder has put a great deal of stress on his family.

For years, he was abnormally irritable and suffered &om mood swings. Frank

feels this has limited his ability to maintain a stable relationship and has prevented

him from having children. Frank thinks that, if he had not gone to Beirut, he

would probably have gotten married and had children. He thinks he probably

would have been a police officer.

         Frank doesn't communicate with the other Beirut veterans. He thinks he
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 7 of 20




should, but he has tried hard to put his experience in Beirut behind him. Frank

doesn't participate in Beirut Veterans groups. He wants to go to the Memorial at

Camp LeJeune, but hasn't been able to bring himself to go yet.

      Frank is happy that blame has been placed on Iran and that Iran should have

to pay for the damage they caused. He thinks that the wounded Veterans and their

families should be taken care of through this case and that the Marines who served

in Beirut should get recognition.



Frank Comes Sr.

      Frank Comes Sr. testified on his own behalf about the effect that the

bombing of the Marine Barracks in Beirut, Lebanon had on his son and on their

relationship.

       Frank joined the Marine Corps in 1956 after he graduated from high school.

He was an MP in Norfolk, VA, for most of his tour. He had always wanted to be a

Marine. His father and older brothers had been Marines. Frank left the Marines in

1958. He worked for the railroad for 39 years and retired in 2001.

       Frank took his kids to little league games and Point Pleasant Beach. They

used to take trips on the train together. He always tried to be there for his kids.

Shift work at the railroad sometimes made this tough.

       Frank's son, Frank Jr., was always a good kid. He didn't get into trouble

growing up and all six of the kids got along well. Frank Jr. came home one day

and told his father that he was joining the Marines. Frank Sr. was proud of him.
    Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 8 of 20




Frank Sr. told his son that basic training was tough, but Frank Jr. said he could do

it. Frank Sr. went to his son's graduation fiom basic training with his family.

Frank Jr. seemed to come back a little more grown up. Frank Jr. was stationed at

several places before he called his parents one day and told them he was headed to

Lebanon. Frank Sr. knew about Lebanon because he was supposed to have been

sent there in 1957. As it turned out, he was not, but he understood that the

situation was getting much worse in Lebanon in the 1980's.

       Frank Jr. and Frank Sr. regularly exchanged letters while Frank Jr. was in

the Marines. From basic training on, Frank Jr. informed his family about what he

was doing and where he was. Frank Jr. anrived in Beirut about six months before

the BLT Building was bombed. Frank Sr. followed the news about Lebanon and

saw one day that a Marine fiom a nearby town had been wounded by a sniper.

Frank Sr. was anxious and concerned for his son's well being. He knew how his

parents had felt when he was in the Marine Corps.

       When Frank Sr. and his wife, Joan, found out that the BLT Building had

been blown up, Joan initially blamed him for Frank Jr. joining the Marine Corps.

They didn't get any information about Frank Jr's well being for about a week.

Frank Sr. felt like he was carrying the world on his shoulders. He blamed himself.

Frank was thinking that maybe he shouldn't have encouraged his son to join the

Marine Corps. Their church said a mass for Frank Jr. Frank's other kids were

upset. Frank Jr. called his parents about four days after the bombing and told them

that he was alive and not to w o w about him.
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 9 of 20



       Frank Sr. and the rest of the family went to Newark Airport to meet Frank

Jr. when he got home. Frank Sr. thought his son had changed. Frank Jr. seemed

withdrawn and jittery. He smoked a lot, which his father never remembered him

doing as a kid and which he still has not been able to give up. He seemed nervous.

He didn't sleep that well. He didn't talk about the bombing or give details about

anything. Frank Sr.'s brother in law, a Vietnam Veteran, told him to just leave

Frank Jr. alone. Frank Jr. doesn't watch war movies. If one is on, he will leave

the room. He tends to wake up in the middle of the night and doesn't go back to

sleep. He will instead go out for coffee.

       Since Frank Jr. has been seeing a therapist, he seems to have improved

some. His personal affairs are more in order and he is more relaxed. September

11&attacks in 2001 seemed to affect Frank Jr. more than other people. It seemed

to dredge up old memories for him.

       Frank Jr. has been working for the port authority railroad for the past

nineteen years. Frank Sr. feels his son is more happy now than he has been in the

past and has a more stable life now.

       Frank Sr. believes his son would have been more relaxed and would not

have started smoking if he had not suffered extreme trauma in Beirut. Frank Sr.

thinks he is lucky because his son made it. He thinks the families of the dead

Marines are the real victims.

       Frank Sr. thinks that this case is about recognizing the sacrifice that the

Marines made in Beirut.
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 10 of 20




Joan Comes

       Joan Comes testified on her own behalf about the relationship she has with

her son, Frank Comes Jr., and the traumatic effect the Beirut Bombing has had on

her son and on her family.

       Frank was a good child. Joan remembers that he was a beautiful baby. He

was quiet in high school. He wasn't very interested in sports. Joining the Marine

Corps was always on Frank's mind. He wanted to be like his father. Frank went

to night school for the last year of high school and joined the Marines after he got

his diploma. Joan didn't want him to go. She was worried about him being away

from home. Joan remembers that Frank wanted to be a police officer after he got

out of the Marine Corps and passed their entrance test, but decided he didn't want

to pursue police work as a career after all.

       Frank went to Parris Island for basic training. Joan and Frank Sr. went to

Frank's graduation fiom boot camp. Frank was gung ho. He loved being a

Marine. Frank was physically and mentally fit both before he entered the Marine

Corps and while he was a Marine.

       Frank wrote letters to his parents while he was in the Marine Corps. He

wrote that he missed his family. Frank described how he felt sony for the children

there and he would occasionally give them candy. His family wrote back with

cheerful things. Frank's siblings wrote him letters. They were always very close.
  Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 11 of 20



Frank's siblings were upset and worried about him when they found out Frank was

going to Beirut. Joan wasn't really sure why Frank was going to Beirut.

      Joan was at her cousin's house on Sunday, October 23, 1983. They were

playing cards when Joan noticed on the TV that there was news of a bombing in

Beirut. Joan took a cab home and turned on the news. She and Frank Sr. watched

the news. She thought that Frank had stood guard outside the building and that he

might have been there. Joan and Frank Sr. made phone calls and tried to get

information about Frank. Not knowing whether Frank was alive or dead put a

great deal of stress on Joan and Frank Sr.'s marriage. Joan blamed Frank Sr. for

letting Frank join the Marine Corps. Joan felt terrible. She thought that, because

she had heard nothing, that Frank must be dead. She suffered fiom hypertension

and her family was concerned she would have a heart attack. Her niece, who is a

nurse, stayed with them so she could monitor Joan's blood pressure. She cried and

prayed. A mass was said for Frank at church. Joan tried to pick Frank out on the

news footage. Joan prayed to St. Theresa. A response to these prayers is

supposed to be signified by the presence of flowers. Joan and Frank Sr. were

caught in traffic on their way to New York City one day to look at TV footage and

to try and see Frank, when a man knocked on her car window and gave her a rose.

They got a phone call the next day fiom Frank telling them that he was alive and

all right. Joan was so excited that she dropped the phone.

       Joan and Frank Sr. had many phone calls fiom people wishing them well.

Once they knew Frank was all right, they felt better. They went to meet Frank
  Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 12 of 20




when he returned home. It was several months after the bombing. They met him

at LaGuardia Airport and taped the whole thing. When they got home, they had

the neighbors over and everyone welcomed Frank back.

      That night, when Frank went to sleep, his parents noticed that he wouldn't

take his boots off. Joan's brother had been in Vietnam and told her that they

should leave him alone and that soldiers in the field get used to sleeping with their

boots on. Frank didn't talk about his experiences and seemed to be under a great

deal of stress, sometimes tearing up for no apparent reason. Frank also seemed to

be having a lot of trouble sleeping. Frank seemed very nervous and couldn't

watch much TV,especially anything about war. Frank's siblings were happy to

see him. Joan was happy to have him home but was concerned that Frank was

having trouble adjusting.

       Frank told his parents at one point that he needed counseling. He was

jumpy and didn't seem like himself. He seemed depressed also. Frank tried to

bury his feeling and forget about what had happened in Beirut. Sometimes Frank

would go to his room and sit there quietly. Joan can't really tell if Frank has

improved with counseling. She believes Frank would have been more calm if he

hadn't have witnessed the bombing in Beirut and the aftermath.

       Frank doesn't keep track of his fiends fiom the service. He has heard fiom

one of his fiends.

       Joan doesn't think the Beirut Bombing is acknowledged. The Marines who

served there don't get recognition for their sacrifice.
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 13 of 20




       Joan considers the day she found out Frank was all right to be the happiest

day of her life.



Christopher Comes

       Chris Comes testified on his own behalf about testified about the

relationship he has with his brother, Frank, and the effect his brother's traumatic

experience in Beirut, Lebanon has had on him and on his family.

       Chris is the youngest of five brothers and one sister. Growing up, Chris

was a baseball player. His family was close knit. Frank is ten years older than

Chris. Their age difference limited their common interests growing up, but Frank

took Chris places with him and drove him around. Frank drove Chris to baseball

games. Frank's fiends in high school hung out around the house regularly.

       Frank wrote Chris letters while he was in the Marine Corps. He wrote to

his mother, as well, asking about how his siblings were. Frank occasionally

brought his friends home on leave. One time, they took Chris and his brother

Tommy to see Rocky 111.

       Frank wrote to his family fiom Beirut and sent them pictures. They were of

him with his fiiends and a machine gun or him with little kids.

        Chris was walking home fiom his neighborhood school when his neighbors

told him about the bombing of the Marine Barracks in Beirut, Lebanon. He went

straight home and saw his mother crying. There were neighbors in the house.

Chris knew his brother was in Beirut, but didn't know much else about the
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 14 of 20



situation. For the next week, they watched the TV and tried to see Frank on the

footage. The footage of the dead bodies scared Chris a lot. Chris' parents were

interviewed on TV. There were neighbors and family members at the house every

day. Chris' fiends tried to keep him occupied. He was afraid to answer the door

for a long time because he was &aid it would be someone that would give him

bad news about his brother. He felt he couldn't bother his parents with his

problems for a long time after the bombing.

      Chris' parents fought because his mother felt that his father had pushed

Frank into the service. It was hard to deal with so many people in his house every

day. Chris not only feared losing his brother but was also worried about dealing

with his family if his brother was dead. He was worried about how the trauma of

losing his brother would affect them. Chris remembers the period of time when he

didn't know whether his brother was alive or dead vividly.

       Chris was coming home from school one day when a neighbor told him that

his family had gotten a phone call. When he got home, his sister told him that his

brother Dale had talked to Frank on the phone and that he was alive. Everyone

was happy and relieved that Frank was all right.

       When Frank came home, his family picked him up from the airport. They

had a party. Frank was happy but he seemed distracted and not hlly aware that he

was home. Frank went to sleep that night with his boots on. He didn't wear

civilian clothes for a while. Frank was quieter and less outgoing after he returned.

He didn't seem to make conversation as easily. Chris had trouble interacting with
  Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 15 of 20



Frank for a couple of months after he got back. Frank didn't talk about his

experiences. Frank was treated like the hero on the block.

      As Chris got older, he understood better what his brother had been through.

Frank seems more outgoing now. Some days he will go in his room and be by

himself. Frank doesn't make an effort to stay in touch with the other Marines that

served in Beirut.

       Chris would like to know the Iranian's motivation for bombing the

Marines. He is curious as to why they bombed the barracks.



Patrick Comes

       Patrick Comes testified about the relationship he has with his brother,

Frank, and the effect his brother's traumatic experience in Beirut, Lebanon has had

on him and on his family.

       Growing up, all the kids in the Comes family were close. There were five

brothers and one sister. Frank used to take Patrick places with him such as

baseball games and the beach. They didn't have many interests in common

because fian.k was eight years older. Frank was sociable and had many fiends

growing up. To Patrick, Frank was a typical older brother. Frank had always

wanted to join the service and he thought the Marines were the best.

       Patrick remembers his parents going to visit Frank when he graduated fiom

boot camp. Patrick recalls that Frank used to write letters to his family members

telling them that he was alright and enjoyed what he was doing. Frank's
WGLG   vcly   I I G ~ V W U ~ a u w u r IL.   I ~ L U J NLC~VV   LLLUC   YYUUC   VVU"   -.   urru-uvar   y.-rr.   -
                                                                                                                  A
                                                                                                                  -
                                                                                                                  .
                                                                                                                  .




 Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 16 of 20
was in ninth grade when Frank was in Beirut.

        Patrick found out about the bombing fiom watching the news. Patrick's

yarents were upset and couldn't get information about Frank. They contacted t.k

:ongressman and the media. Patrick was upset that his parents were upset. He

~ n dhis other siblings didn't talk about the situation. They didn't know if Frank

was alive for a long time. They got news when Frank called his parents' house .

:ell them that he was alright. Patrick missed a lot of school before they found 01

Frank was alive. His parents didn't sleep much. Patrick thinks they were

probably assuming the worst. Patrick's father felt guilty because he had approvi

of his son joining the Marines and felt responsible for anything that could have

happened to Frank. When they found out Frank was alright, they were all very

relieved.

        The next time they saw Frank was a couple of months later. Frank was

more quiet than before the bombing. He stayed to himself more than he had. H

didn't seem to socialize with people like he had before. Frank doesn't talk abou

his experiences and he doesn't talk about his time in the military. He doesn't

watch movies about war anymore. Frank hasn't ever talked about the bombing.

Frank was hospitalized for about a month. Patrick and Frank Sr. drove him to tl

hospital. Frank wanted to go and asked them to drive him.
  Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 17 of 20




      There's nothing that Iran or the terrorists could say to Patrick to make him

fell better about what has happened to his brother. He feels he would have nothing

to say to them.



Lisa Comes Maenotti

      Lisa Magnotti testified about the relationship she has with her brother,

Frank, and the effect her brother's traumatic experience in Beirut, Lebanon has

had on him and on his family.

      Lisa is the third oldest child, behind Frank and Dale. Patrick, Christopher

and Thomas are her younger brothers. They were a close knit family. Her older

brothers fiequently took her to school while her mother looked after her younger

brothers. There were lots of kids around their house when they were growing up.

Frank and Lisa's other brothers always helped her out with homework or if she

needed money.

       Lisa's father, Frank Sr., worked a lot while the kids were growing up. Her

mother stayed home while they were growing up. Frank worked at his uncle's

carnival when he was in high school. Lisa was fifteen when Frank enlisted in the

Marine Corps. When Frank was in the Marine Corps, he wrote letters to his

family members and fiequently came home on the weekends with his iiiends.

Frank tried not to worry his family when he wrote to them. He talked about his

friends. Lisa knew that there were suicide bombings and lots of violence in Beirut

when Frank went there. It worried her that those people attached no value to their
  Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 18 of 20




own lives. She wondered how people like that could be reasoned with.

      After the bombing in Beirut, it seemed like the whole neighborhood was at

Lisa's parents' house. Neighbors brought food to their house. The watched the

news endlessly. Their relatives called constantly. Lisa remembers that everyone

was crying and they were worried. They went to New York City to review the

news footage to see if they could spot Frank. They wanted to believe that they

were seeing Frank and it gave them hope to watch the footage.

      It seemed like a very long time before they found out Frank was alive. Lisa

guesses it took a week to find out Frank was alive. She missed work during this

time to be with her family. Lisa felt like she couldn't get away fiom the bombing

at work People constantly talked to her about it. Her younger brothers didn't

really know what was going on but they saw that their parents were upset. Frank

called the family to tell them he was alive. One of Lisa's brothers picked up the

phone.

         When the family picked Frank up at the airport, he looked the same to Lisa.

They threw a party for him afterwards. Lisa noticed that he didn't talk much. Lisa

didn't want to force Frank to talk and Frank chose not to talk about his experience

in Beirut. Frank seemed very moody when he got back fiom Beirut. Frank's

parents figured that his silence and mood swings were the natural result of a

traumatic experience.

         Frank still helps out Lisa and takes her daughter out occasionally. He has

always been nice to them and Lisa doesn't want to pry into his affairs. Lisa
1 u . l L n 1P   ewwu   VV llll V l l l l u l V l l L U l U U l O U   r.   V l l U W L l J 1 L 111LI w I x y " 1 I V ~ I V V 111 Y   Y   U   U   C 1"   U I V




 Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 19 of 20
:ason why Frank hasn't gotten married and had children of his own.

           Lisa thinks the government of Iran should compensate the victims of the

arracks bombing because their actions will affect the marines and their families

or the rest of their lives. Not knowing whether Frank was dead or alive was the

~ughesttime in Lisa's life.



                                                CONCLUSIONS OF LAW



.          Pain and Suffering.

           The above testimony as well as other admitted evidence clearly indicates

hat Frank Comes Jr. suffered physical and emotional injury as a result of the

lctions of the Islamic Republic of Iran and its agents. The special master

:oncludes that Frank Comes Jr. is entitled to Five Million 5,000,000) Dollars ir                                 t
:ompensatory damages due to the demonstrated injury caused in the Marine

3arracks Bombing.

..        ' Solatium

            The Foreign Sovereign Immunities Act provides for an award for solatiw

:onsisting of emotional injury inflicted upon persons other than the decedent by

he actions of the Defendants and/or their agents. The Court in the Flatow case

,tatedthat this is an item of damages which belongs to the individual heirs
   Case 1:01-cv-02094-RCL Document 153 Filed 06/30/06 Page 20 of 20




personally for the injuries to the feelings and the loss of the decedent's comfort md

support. In the present case, the impact upon the family of Frank Comes Jr. has

been profound and is permanent. The Special Master concludes as a matter of law

that the following amounts are appropriate monetary compensation for this

element of the damages: to Frank Comes Sr., One ill ion f1,000,000) Dollars; to
                           9
Joan Comes, One Million (1,000,000) Dollars; to Patrick Comes, One Million
 P                                                     2.
(1,000,000) Dollars; to Christopher Comes, One Million (1,000,000) Dollars; to
                             $1'
Lisa Magnotti, One Million (1,000,000) Dollars.
